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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                      MDL No. 2924
   PRODUCTS LIABILITY                                                               20-MD-2924
   LITIGATION
                                                          JUDGE ROBIN L. ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE E. REINHART

   ________________________________/

   THIS DOCUMENT RELATES TO:

   Garretson v. Boehringer Ingelheim, 9:24-CV-80909


   ORDER GRANTING DEFENDANTS’ FIFTH CONSOLIDATED MOTION PURSUANT
                             TO PTO 84

            THIS CAUSE came before the Court on the Defendants’ Fifth Consolidated Motion

   Pursuant to PTO 84 at docket entry 7341. For the reasons set forth in the Motion which the Court

   adopts and incorporates herein and the Plaintiff’s failure to file any response, the Court GRANTS

   the Motion and finds that Plaintiff(s) in the above-referenced action(s) have failed to meet the

   obligations under the pretrial orders of this Court.

            Accordingly, the above-referenced actions are HEREBY DISMISSED WITH

   PREJUDICE. The Clerk of the Court shall docket a copy of this Order in each case referenced

   above.

            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 23rd day of

   September, 2024.

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                                                          Honorable Robin L. Rosenberg
                                                          UNITED STATES DISTRICT JUDGE
